                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                    AT KNOXVILLE

 UNITED STATES OF AMERICA                             )
                                                      )
                                                      )       No. 3:11-CR-129
 V.                                                   )       (VARLAN/SHIRLEY)
                                                      )
 CHARLES CHAD BOZEMAN, III                            )


                                MEMORANDUM AND ORDER

                A revocation hearing was held in this case on September 12, 2012, on a Warrant

 and Petition for Action on Conditions of Pretrial Release signed by the undersigned on

 September 6, 2012.      Cynthia Davidson, Assistant United States Attorney, was present

 representing the government and Attorney Wade Davies was present on behalf of the defendant,

 who was also present.

        Defendant’s Attorney, Wade Davies, proffered on behalf of the defendant, that the

 defendant had decided not to contest the charges in the Petition. The defendant acknowledged

 that he was not contesting the allegations and understood that such action meant his release

 would be revoked. The Court also determines that based on the facts and information in the

 Petition regarding the defendant’s alleged drug use, that there is probable cause and believes that

 the defendant committed a Federal or state crime while on release, and clear and convincing

 evidence that defendant violated other conditions of release and that the defendant is a person

 who poses a danger to the public and that there are no conditions that would assure that the

 defendant would not pose a danger to the safety of others and it is unlikely that the defendant

 would abide by conditions of release. Therefore, it is ordered that the defendant be detained until

 the Change of Plea Hearing, currently set for September 19, 2012 at 3:00 p.m., before Thomas

 A. Varlan, United States District Judge. The defendant shall be held in custody by the United


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 States Marshal until that time and produced for the above scheduled hearing.

                      IT IS SO ORDERED.

                                    ENTER: C. Clifford Shirley, Jr.
                                         United States Magistrate Judge




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